Case 1:13-cr-00083-WMS-HBS Document 672 Filed 06/15/20 Page 1 of 26

UNITED STATES DISTRICT CouRT

 

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| CASE M0: 13- 0083-6
v. Cwns)CHBS)

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Case 1:13-cr-00083-WMS-HBS Document 672 Filed 06/15/20 Page 11 of 26

AFFIDAVIT
I Hereby Certify that the foregoing facts are true and correct to the
best of ty knowledge and belief under penalty of perjury as per 28 USC Section
4746. |

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Bs€ Ri€2A, Pro Se

. CERTIFICATE OF SERVICE
I Hereby Certify that a copy of the foregoing Petition/Motion was mailed
on this 0 © _ day of SAAS _, 2026, by First Class Mail, postage

prepaid to:

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Office of the US Attorney
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José Rive , pro se
Case 1:13-cr-00083-WMS-HBS Document 672 Filed 06/15/20 Page 12 of 26

 

 

 

ATTACHMENT(S)
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Case 1:13-cr-00083-WMS-HBS Document 672 Filed 06/15/20 Page 13 of 26

CORONAVIRUS TSUNAMI THREATENS PRISON SYSTEM.

A week ago, the US had 3,500 confirmed COVID-19 cases, with 40 deaths. A scant seven days later, those numbers have
increased by an order of magnitude: the nation has just passed 33,000 confirmed cases including several members of
Congress and 413 deaths. And although some local and state governments are releasing thousands of inmates in order to

prevent a coronavirus outbreak in crowded jails and prisons, there is no federal move to do so.

risons had confirmed three staff and three inmate cases.

As of late last night, the Wall Street Journal reported, the Bureau of P
New Hampshire facility and may have been in contact

One of the BOP staff members who is presumed positive worked at a
with inmates, a BOP official told CBS News.

the BOP is not using its furlough power, RRC placement, Elderly Offender Home

But despite inmate rumors to the contrary,
sionate release to speed the release of vulnerable inmates.

Detention program, or power to recommend compas

Last week, the ACLU called on Attorney General William Barr to “immediately seek sentences consistent with retroactive
application of provisions of the First Step Act, including the 851 enhancement, safety valve, and 924(c) "stacking" provisions."
The ACLU demanded that BOP increase use of compassionate release for those over 65, have a medical condition; or who .
suffer from diseases making them vulnerable to the COVID-19 disease, and people within a year of release.

rs asked DOJ to direct the BOP to grant the maximum amount of home
e to include risks of coronavirus to "identified

s, and compromised immune systems as

On Thursday, the Federal Public & Community Defende
confinement and to expand its reasons for recommending compassionate releas
persons over the age of 60, as well as persons with diabetes, respiratory problem

facing special danger from COVID-19."

Inmate rumors that the BOP will release minimum security inmates were stoked by reports of a petition posted at the website
change.org, demanding that President Trump order all BOP campers be sent to home confinement for the duration of the
COVID-19 emergency. As of late Sunday, the petition had over 37,000 signatures. The odds this petition will have any effect

whatsoever are zero.

to the tight spaces in crowded conditions and strained health-care systems, according to

New York Times last week warned that prisons and jails would be "the epicenter of the

milar column in The Washington Post warned, “Uniess government officials act now, the
endangering not only prisoners and corrections workers but the

Inmates face substantial risks due
experts. An opinion column in The
pandemic" unless action was taken. A si
novel coronavirus will spread rapidly in our jails and prisons,
general public as well."

"We're all headed for some dire consequences," The Wall Street Journal quoted Daniel Vasquez, a former California warden, as

saying. “I think it's going to be impossible to stop it from spreading."

CBS News reported Thursday that BOP employees say their lives are in danger after bungled instructions and widespread
supply shortages. "The agency is in chaos," CBS quoted Joe Rojas, regional vice president of a correctional officer labor union,
as saying. "We are just scrambling to get things in order." Ata Florida FCI, BOP staffers told CBS News that officers transferring

inmates lack access to protective gear, soap, and hand sanitizer. Gloves are in short supply, and workers plan to reuse

disposable masks.

"Our supply is very limited," Kristan Morgan, vice president of an officers’ union, told CBS. "It's kind of like survival of the fittest

at this point." She said she spent Tuesday afternoon admitting a busload of 12 new inmates, all of whom had high fevers. The
facility's doctor is out sick, and their two nurses and one nurse practitioner are working around the clock. BOP staff have started

to call in sick in order to avoid exposure. "They feel really betrayed," said union president Ray Coleman said.
|

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Case 1:13-cr-00083-WMS-HBS Document 672 Filed 06/15/20 Page 14 of 26
Page 1 of 2

The Bureau of Prisons has identified nine criteria for which you must meet to be considered for home
confinement due to Covid-19, if you have underlying medical conditions identified by the CDC. This
criteria has been developed based off of the AG Memo and the Cares Act, you must meet all of the

below listed criteria;

1) Primary Offense is not violent;

2) Primary Offense is not sex offense;
3) Primary Offense is not terrorism;

4) No detainer;

5) Mental Health Care Level is less than IV
6) PATTERN risk score is MIN

7) BRAVO score is LOW or MIN

8) Served at least 50% of their sentence

9) No Incident Reports in the past 12 months

Your current PATTERN risk scores is Medium, therefore you do not meet the criteria.

>>> ~Al"RIVERA, ~4UOSE" <22416055@inmatemessage.com> 4/9/2020 10:52 AM >>>

To: WARDEN
inmate Work Assignment: UNICOR

*** ATTENTION***

Please cut and paste the message indicator below into the subject line; only this indicator can be in the subject

line.
a0f0458f-e0be-40b9-b690-0522c55bc23b
Your response must come from the departmental mail box. Responses from personal mailboxes WILL NOT be

delivered to the inmate.

***Inmate Message Below***

DEAR WARDEN,
| WOULD LIKE TO HAVE MY CASE REVIEW BY THE CARE ACT. | BEEN SICK FOR OVER 18 YRS WITH MY

SICKMESSES:
(1)DIABETES MELLITUS: EXCESS SUGAR IN THE BLOOD STREAM AN URINE WITCH RESULTS IN A FAILURE TO
METABOLIZE SUGARS WITCH MEANS | HAVE A BAD PENCREAS.| HAVE A HIGH A1C, OF A SCALE OF 1-13 'M AT

THE HIGHEST 13, NORMAL IS 6, FOR SOME REASON MINES WONT GO DOWN, SO MY KIDNEYS ARE AT RISK
ALSO MY HEART, MY EYES AND ALL MY ORGANS BECAUSE

MY DEFENSES ARE VERY LO. i, # I
(2)HIGH BLOOD PRESSURE. eT EM

(3)HIGH CHOLESTEROL.
| WOULD BE IN JEOPARDY BY THE THREAT OF THE NEW CORONA VIRUS AND MY CHANCES TO SURVIVE ARE
Case 1:13-cr-00083-WMS-HBS Document 672 Filed 06/15/20 Page 15 of 26
Page 2 of 2

MINIMUN. | KNOW THERE ARE NO PREVISIONS IN THE LAW FOR THE NEW THREAT AND ALL LIES ON THE
DISCRETION OF THE WARDEN, SO | HUMBLY ASK THIS ADMINISTRATION TO EVALUATE AND CONSIDER MY
CASE FOR HOME CONFINEMENT AND ANY OTHER WAY THAT | CAN BE SAFE. | HAVE MORE THAN HALF OF MY
SENTENCE SAFE. | BEEN PROGRAMMING AND WORKING IN UNICOR FOR OVER A YEAR, I'VE ACHIVED MY G.E.D

AND IN 6 YRS NEVER HAD ANY KIND OF INCIDENT REPORTS. THANK YOU FOR YOU'RE TIME .
SINCERELY,

JOSE RIVERA
Case 1:13-cr-00083-WMS-HBS Document 672 Filed 06/15/20 Page 16 of 26

ALFG4 540*23 * SENTENCE MONITORING = 06-03-2020
PAGE O01 * COMPUTATION DATA * 14:35:34
AS OF 06-03-2020

REGNO..: 22416-055 NAME: RIVERA, JOSE

FBI NO...........: 562005FB8 DATE OF BIRTH: 04-08-1981 AGE: 39
ARS1.............: ALF/A-DES

UNIT.........-....: LYCOMING QUARTERS.....: LO1-241U
DETAINERS........: NO NOTIFICATIONS: NO

HOME DETENTION ELIGIBILITY DATE: 07-02-2022 -

THE FOLLOWING SENTENCE DATA IS FOR THE INMATE'S CURRENT COMMITMENT.
THE INMATE IS PROJECTED FOR RELEASE: 61-02-2023 VIA GCT REL

anne een n nnn non ----- CURRENT JUDGMENT/WARRANT NO: 010 ~---~---~----------------

COURT OF JURISDICTION...........: NEW YORK, WESTERN DISTRICT
DOCKET NUMBER...................: 1:13CRO0083-006
JUDGE... eee ee eee eee eee eee?) SKRETNY
DATE SENTENCED/PROBATION IMPOSED: 04-05-2017
DATE COMMITTED...............00.. : 05-01-2017
HOW COMMITTED...................: US DISTRICT COURT COMMITMENT
PROBATION IMPOSED............... : NO

FELONY ASSESS MISDMNR ASSESS FINES COSTS
NON-COMMITTED.: $100.00 $00.00 $00.00 $00.00
RESTITUTION...: PROPERTY: NO SERVICES: NO AMOUNT: $00.00

wo - eee nono ee --------- CURRENT OBLIGATION NO: 010 -----------------------~----
OFFENSE CODE....: 391 21:846 SEC 841-851 ATTEMPT
OFF/CHG: 21:846,21:841(A) (1) AND 21:841(B) (1) (A) CONSPIRACY TO POSSESS

WITH INTENT TO DISTRIBUTE, AND TO DISTRIBUTE,1 KILOGRAM OR

MORE OF HEROIN

SENTENCE PROCEDURE.............: 3559 PLRA SENTENCE
SENTENCE IMPOSED/TIME TO SERVE.: 120 MONTHS

TERM OF SUPERVISION............: 5 YEARS

DATE OF OFFENSE............6...3 02-27-2013

GO002 MORE PAGES TO FOLLOW
Case 1:13-cr-00083-WMS-HBS Document 672 Filed 06/15/20 Page 17 of 26

ALFG4 540*23 *

PAGE 002 OF 002 * COMPUTATION DATA

AS OF 06-03-2020

REGNO..: 22416-055 NAME: RIVERA, JOSE

ween nnn nnn eee eee CURRENT COMPUTATION NO:

SENTENCE MONITORING

010

06-03-2020
14:35:34

COMPUTATION 010 WAS LAST UPDATED ON 02-14-2020 AT DSC AUTOMATICALLY
COMPUTATION CERTIFIED ON 06-16-2017 BY DESIG/SENTENCE COMPUTATION CTR

THE FOLLOWING JUDGMENTS, WARRANTS AND OBLIGATIONS ARE INCLUDED IN

CURRENT COMPUTATION 010: 010 010

DATE COMPUTATION BEGAN.......... : 04-05-2017

TOTAL TERM IN EFFECT..........00: 120 MONTHS

TOTAL TERM IN EFFECT CONVERTED..: 10 YEARS

EARLIEST DATE OF OFFENSE........: 02-27-2013

JAIL CREDIT. .... 0.000.000 cee uee : FROM DATE THRU DATE
04-10-2013 04-23-2013
07-11-2014 04-04-2017

TOTAL PRIOR CREDIT TIME.........: 1013

TOTAL INOPERATIVE TIME..........: 0

TOTAL GCT EARNED AND PROJECTED..: 540

TOTAL GCT EARNED..............0. 5 QT Q er,

STATUTORY RELEASE DATE PROJECTED 01-02-2023 owe oes ch A

TWO THIRDS DATE.................: 02-24-2021

EXPIRATION FULL TERM DATE.......: 06-25-2024

TIME SERVED. .......00 000.0 cee e eed 5 YEARS 11 MONTHS

PERCENTAGE OF FULL TERM SERVED..: 59.3

PERCENT OF STATUTORY TERM SERVED: 69.6

PROJECTED SATISFACTION DATE.....: 01-02-2023

PROJECTED SATISFACTION ‘METHOD...: GCT REL

REMARKS.......: 02-14-20: UPD FOR FSA/GCT D/LLF

GO000 TRANSACTION SUCCESSFULLY COMPLETED

Noe Toe
PLA gd ee

9 DAYS

whe

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00083-WMS-HBS Document 672 Filed 06/15/20 Page 18 of 26

WHAT'S HAPPENING
AT
ALLEVWOOD

(AND THE BOP FACTLITTES)

 

 
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A, COVID-19 is spreading through BOP at an exponential rate.
The Court is familiar with the threat posed by COVID-19, particularly in the

prison setting, where social distancing and hygiene recommended by the Centers for
Disease Control are very difficult to achieve. Data shows that, not surprisingly, the ©
virus is tearing through the BOP ata rate exponentially higher than it is spreading |
elsewhere in the United States. Indeed, at the time PetHtineR reportedly submitted
his request for compassionate release with his Allenwood warden (1 - 9-28, BOP was
reporting 377 inmates and staff were infected (not including those who had been
infected but recovered), and 8 people dead. Today, BOP reports 1,948 are infected (not
including those who have recovered), and 23 more people have perished, bringing the
death count to 31.! The universe of those who have died from the virus in custody
includes people under the age of 60, and people ‘to whom courts had granted
compassionate release but fell ill and died before the orders could be effectuated, and

a 30-year old woman who had just given birth.?

Total BOP-Reported Positive Tests for COVID-19 Nationwide (includes Staff
and Inmates)

1600
1400
1200
1000
800
600
400
200

 

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COVID-19 Rate of Infection for Various Populations

 
Case 1:13-cr-00083-WMS-HBS Document 672 Filed 06/15/20 Page 20 of 26

 

 

 

 

 

 

 

| —_ Infection Rate as | infections/ |
Percentof + 1,000 |
Population Population j{ People
178,649 7.70: 0.7702%
329,574,093 2.97 ' 0.2974%
1,394,015,977° 0.06 | 0.0060%
( 199,414° | 62,402,659 _ 3:20, 0.3196%

 

 

 

 

 

 

 

2.590248
127.9563
“} 2.410268

 

  

 

 

 

 

 

 

 

Eom psec to: EHtlY
Moreover, there is ample reason to believe that the Bureau of Prisons’ numbers

probably understate the spread within its system overall, and that there very well

could be people infected with the virus at FCI Allenwood Low now, notwithstanding

the BOP report. First, BOP excludes data from private run prisons.!! Second, BOP’s

website lists only “lab positive tests,” omitting “suspected, presumed positive, or
clinically confirmed.” 4 Third, the BOP numbers, which show no positive cases at the
complex in which feffieuz : is housed, appear to exclude at least two staff members
who have tested positive, according to news sources.}8 Finally, it is by now well-

‘known that people infected with COVID-19 “may not show symptoms. ld The only way

to be sure how many people in a prison are positive for the virus is to test them all,

as some state prison systems have begun to do (causing their numbers to skyrocket),
but BOP has not engaged in widespread testing.!®

B. Conditions at. (e4/home facility are conducive to spreading the virus.

Moreover, the inherent problem at every prison is that people come and go, and .

move about, and are packed in close quarters, sharing space and facilities. According |

he and his fellow inmates at Allenwood. Low have been locked down

to Petitinuey,

since April 1, like most of the rest of BOP, which will continue this lockdown through

at least May 18.'6 But a lockdown is not a panacea. According to ek hiuee / during

 

 

 

 

a)
Case 1:13-cr-00083-WMS-HBS Document 672. Fil
the “lockdown” in place at Allenwood, inmates are fan reRased RrAB hate ePhis?

other day, and in that time, they share showers, furniture, phones, and computers.

Neither hand-sanitizer bottles nor disinfectant wipes are made available to the

inmates either inside or outside of their cells. Moreover, he is not locked down alone.

He shares his room and bathroom facilities with another man, whose actions he

cannot control.
In short, the risk to Pet/tiowehis veal, and it is present now. See United States
v. Harris, Case No. No. 19-356, 2020 WL 1482342, at *1 (D.D.C. Mar. 26, 2020) (noting

that, between the time the government counseled the court to “wait and see” if any

positive COVID-19 cases were detected at the D.C. jail, “at least one person at the

D.C. jail has tested positive for the virus.”).

C. F fT PIONEER ‘s medical conditions place him at particularly high
risk for severe illness or death from COVID-19.

Everyone incarcerated within BOP is at risk, but Petit ‘onen is especially so.
He does not have permission to keep
bleach or other disinfecting materials needed to regularly clean and disinfect every
part of it to kill the virus, which can live for up to 72 hours on surfaces (not to mention
that this I difficult for him to accomplish on his own).!®
! j
In addition, he is predisposed to get very sick if he contracts the virus, as he is

diabetic, and suffers from, among other conditions, high blood pressure, and is 60

years old.!9 According to the Centers for Disease Control and Prevention (CDC),

diabetes and severe obesity may put individuals at “high-risk for severe illness from ~

COVID-19.”29 Indeed, a study of 5,000 hospitalized patients published on a website
for the Journal of the American Medical Association showed that 57% had high blood
pressure, 41% were obese, and over 1/3 had diabetes. And a group of University of

Missouri and Harvard doctors recently reported that data from China showed that

the “fatality rate” for diabetics was almost three times the overall fatality rate.”?}

 

(3)
Case 1:13-cr-00083-WMS-HBS Document 672 Filed 06/15/20 Page 22 of 26
Although the CDC highlights the risk

to those over 65, the Intensive Care National Audit and Research Centre in London

reports that 45.8% of those between the ages of 50-69 admitted to critical care died in

critical care.??
While some may argue that any defendant (like any person) will still be at risk

outside of prison, that argument misses the point. COVID-19 is extremely dangerous

to Ketone wherever it is contracted, but the ability to guard against it is greater

at home, where PeléHivee ‘can truly quarantine, where he can clean his wheelchair

properly with help, and where he can shower alone, and freely practice the other

hygiene and cleaning recommendations of experts. None of that can happen at the

prison, where he shares a room and bathroom facilities with another man, shares a

common area, showers, phones and computer terminals with hundreds of men who

could be infected without anyone knowing it, and has no access to his own cleaning

supplies. Indeed, the CDC’s website says: “People in correctional and detention —

facilities are at greater risk for illnesses, such as COVID-19 because of their close

1

lliving arrangements with other people.” Or, as one district judge put it recently, in

the context of granting a motion for compassionate release, prisons are “tinderboxes

for infectious disease.” United States v. Rodriguez, No. 2:03-CR-00271-AB-1, 2020 WL

1627331, at *1 (E.D. Pa. Apr. 1, 2020).

C4).

 
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1 BOP reports data on staff and inmates testing positive every afternoon, at
www.bop.gov/coronavirus (last visited 4/29/20). The tables and charts that follow
were created by an Assistant Federal Public Defender in New York, using data from

www.bop.gov/coronavirus and www.cdc.gov as of April 27, 2020.

2 BOP issues press releases regarding each death. See https://www.bop.gov/
resources/press releases.jsp (last visited 4/29/20). On April ist, a district court in
Northern Florida commuted a life sentence for a defendant named Andre Williams to
time-served with 12-months home confinement, finding age and medical conditions
created significant risk of “life threatening illness should he be exposed to COVID-19
while incarcerated.” U.S. v. Williams, No. 04-cr-95, at *7 (N.D. Fla. Apr. 1, 2020) (ECF
No. 91). Before the order granting release was filed, Mr. Williams caught coronavirus
in FMC Butner. He died April 12th. See BOP, Inmate Locator website, available ai

https://bit.ly/2XDfeZe).

3 Includes the number of both BOP inmates and staff who have tested positive
for COVID-19. Numbers obtained from www.bop.gov/coronavirus on a daily basis.

4Includes the number of federal inmates in BOP-managed institutions and the
BOP staff complement. Numbers. obtained from www.bop.gov/coronavirus on a daily

basis.
®’ Numbers obtained on 4/27/2020 at 3:58pm from https://coronavirus.jhu.edw

map.html.
6 Numbers obtained on 4/27/2020 at 3:57pm from https://www.census.gov/

popclock/.
7 Numbers obtained on 4/27/2020 at 3:58pm from https://coronavirus.jhu.edu/

map-.html.
8 Numbers obtained on 4/27/2020 at 3:57pm from https://www.census.gov/

ponclock/.
9 Numbers obtained on 4/27/2020 at 3:58pm from https://coronavirus.jhu. edus/

map.html.
10 Numbers obtained on 4/27/2020 ‘at 3:57pm from https://www.census.

gov/popclock/.

 

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Wi
 

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11 Dan Kane, “A second federal prison in NC has coronavirus cases, and U.S.

officials aren’t tracking it,” The News & Observer (Apr. 19, 2020), available at
(reporting positives at private prison, and that BOP spokeswoman confirmed that
BOP site does not report positives at privately run prisons), available at
Dan kcww new sobserver.com/news/local /article242125516 .btml (last visited Apr.

12 April 10, 2020 Press Release, “Rep. Bass & Nadler Demand Answers, Public
Briefings from DOJ on Handling COVID-19 in Federal Prisons & CARES Act
Implementation as Infections and Deaths Rise in the System,” (Apr. 10, 2020),
available at https://bass.house.gov/media-center/press-releases/rep-bass-nadler-dem
and-answers -public-briefings-doj-handling-covid-19 (last visited Apr. 18, 2020).

'3 According to local news reports citing the president of the union representing
corrections officers at Allenwood, a resigning staff-member tested positive after his
last day, which was March 25, and another staff member was confirmed positive
sometime in early April 4. Marcia Moore, “UPDATE Allenwood prison staffer tests
positive for COVID-19; limited contacted with staff, prisoners,” The Daily Item (Apr.
10, 2020) (“Hart did not know specifics, including when the unidentified corrections
officer tested positive, whether he was hospitalized or what prison he will be working
at next.”), available at https://Awww.dailyitem .com/coronavirus/update-allenwood-.
prison-staffer-tests-positive-for-covid- 19-limited-contacted-with-staff-prisoners/arti
cle_29b79008-7a93-11lea-91da-9ff36b66bc50. html (last visited 4/27/20); Marcia
Moore, “Allenwood prison worker tests positive for COVID-19,” The Daily Item (Apr.
18, 2020) (“Hart, the president of the union representing corrections officers at U.S.
Penitentiary at Allenwood, a maximum-security prison in the same complex where
one officer was diagnosed with COVID-19 in March, said staff was notified of the
second confirmed diagnosis on Friday.”), available at https://www.dailyitem.com/
news/snyder_county/allenwood-prison-worker-tests-positive-for-covid-1 9/article
4c’7c4484-b39b-5b59-9429-0d4fe2797f71.html (last visited 4/27/2020).

4 Apoorva Mandavill, “Infected but Feeling Fine: The Unwitting Coronavirus

 

Spreaders,” New York Times (March 31, 2020), available at httns://www.nytimes.com

2020/03/3 1/health/coronavirus-asymptomatic-transmission.htm] (last visited Apr. 1,
2020; see also CDC, “How Coronavirus Spreads” webpage, available at https://www.

cde.gov/coronavirus/2019-ncov/prevent-getting-sick/how-covid-spreads. _html?CDC
AA refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-ncov%2 Fpre
pare%2Ftransmission.html (last visited Apr. 1, 2020).

15 See C. Aspinwall, J. Neff, “These Prisons Are Doing Mass Testing For
COVID-19—And Finding Mass Infections,” The Marshall Project (Apr. 24, 2020),
available at https:/Iwww.themarshallproject.org/2020/04/24/these-prisons-are-doing-
mass-testing-for-covid-19-and-finding-mass-infections (“Only a handful of states
have taken this expansive testing approach so far—but it seems responsible for a
spike in reported coronavirus cases behind bars.”) (last visited 4/27/20); B. Chappell,
“73% of Inmates at an Ohio Prison Test Positive for Coronoavirus,” National Public
Radio (Apr. 20, 2020), available at https://www.npr.org/sections/coronavirus-live-
updates/2020/04/20/8388943821 1/73-of-inmates-at-an-ohio-prison-test-positive-for-
coronavirus (last visited 4/27/20). BOP has recently announced expanded testing, but
is deploying it only at “institutions with known COVID-19 cases.” See BOP website,
“BOP Expands COVID-19 Testing,” (Apr. 24, 2020) at https://www.bop.gov

/resources/news/20200424 expanded testing.isp (last visited 4/27/20).
16 COVID-19 Action Plan: Phase 5 (March 31, 2020), https://tinyurl.com/

rb9umrx (last visited Apr. 18, 2020); COVID-19 Action Plan: Phase 6 (Apr. 14, 2020),
https://www.bop.gov/resources/news/pdfs/20200414 press release action plan

'G.pdf (last visited Apr. 21, 2020). efhy
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Technology Users Attention: Precautions for COVID-19, at https://pva.org/covid-19/
(last visited Apr. 2, 2020); CDC, “People with Disabilities,” website at
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-
disabilities.html (ast visited 4/27/20) (recommending regular disinfecting of
wheelchairs); see also Numotion.com, “Coronavirus: What to do if you're in .a
wheelchair,” at https://www.numotion.com/blog/march-2020/coronavirus-what-to-do-
if-vou-ve-in-a-wheelchair (same, recommending disinfection of all parts of a
wheelchair, not just wheels, with bleach) (last visited 4/27/20).

19 Dkt. No. 231 at 3; Presentence Investigation Report (PSR) {{ 60, 68-72.

20 See CDC, “Groups at Higher Risk for Severe Illness,” available ai https://
www.cde.gov/coronavirus/2019-ncov/hep/underlying-conditions .html (last visited

4/27/20).

21 Michael A. Hill, Christos Mantzoros, and James R. Sowers, “Commentary:

COVID-19 in patients with diabetes,” Metabolism (Mar. 24, 2020), available at
https://www.ncbi.nim.nih.gov/pmc/articles/PMC7102643/ (last visited Apr. 17, 2020)
(“Very recently a summary report from the Chinese Center for Disease Control of

 

72,314 cases across the country showed an overall fatality rate of 2.3% but this was _
increased to 10.5% in people with cardiovascular disease and 7.3 and 6%, respectively |

for people having diabetes or hypertension.”).

22 ICNARC report on COVID-19 in critical care, ICNARC at 14 (Apr. 4, 2020),
available at https://www.icnarc.ore/Our-Audit/Audits/Cmp/Reports ‘(last visited
4/29/20).

The World Health Organization (WHO) identifies individuals at highest risk
to include those over 60 years of age and those with cardiovascular disease, diabetes,
chronic respiratory disease, and cancer. See https://www.who.int/docs/default-source
/coronaviruse/situation-reports/20200311-sitrep-61-covid-19.pdf?sfvrsn=1ba62e57
10; see also https://www.who.int/newsroom/q-a-detail/q-a-coronaviruses. The WHO
further states that the risk of severe disease increases with age starting from around

40 years.

23 See https://www.cdc.gov/coronavirus/2019-ncov/community/correction-deten
tion/fag.htm] (ast visited Apr. 13, 2020). Moreover, locking inmates down is not a
solution. Not only is lockdown a highly imperfect preventative measure as inmates
are still regularly released to common areas, prolonged lockdown is more punitive
than what the Court envisioned for ##ea when the Court imposed its sentence.

 

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